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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION
NUVASIVE, INC.                      )
                                    )
                                    )
      Plaintiff,                    )
                                    )
VS                                  )   Case No.: 6:17-cv-2206-Orl-41GJK
                                    )
ABSOLUTE MEDICAL , LLC, GREG        )
SOUFLERIS, DAVE HAWLEY, RYAN        )
MILLER, and ABSOLUTE MEDICAL        )
SYSTEMS, LLC.                       )
                                    )
      Defendant.                    )
___________________________________ )

                      DEFENDANTS’ HEARING MEMORANDUM

       Defendant, ABSOLUTE MEDICAL, LLC (“Absolute Medical”), Absolute Medical

Systems, LLC (“AMS”), Greg Soufleris (“Soufleris”), Dave Hawley (“Hawley”), and Ryan

Miller (“Miller”) (collectively referred to as “Defendants”), by and through their undersigned

counsel, hereby files this Hearing Memorandum for the evidentiary hearing on June 28, 2018, on

Plaintiff’s, NUVASIVE, INC. (“Plaintiff” or “NuVasive”), request for a preliminary injunction

to enforce non-competes against Defendants.

I.     NuVasive Has Failed to Meet its Burden in Establishing All of the Elements for a
       Preliminary Injunction to Enforce the Non-Competes.

       The relevant portion of section 5.09(c) of the Sales Agreement states as follows:

       During the Term and for a period of twelve (12) months thereafter, Representative and
       Representative Affiliates shall not (i) represent, promote, sell, solicit, or otherwise
       commercialize (directly or indirectly) any products or services that are, in NuVasive’s
       reasonable judgment, competitive with any of NuVasive’s products or services (including
       the Products) without the prior written consent of NuVasive . . .
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       NuVasive is asking this Court to enforce a non-compete against Absolute Medial that is

unreasonable in time and geography and does not protect a legitimate business interest, and is

further requesting this Court impermissibly extend such an unreasonable restraint to Defendants.

Yet, NuVasive has failed to demonstrate each of the elements necessary for issuance of a

preliminary injunction against any of the Defendants.          A preliminary injunction ‘is an

extraordinary and drastic remedy not to be granted unless the movant clearly establishes the

burden of persuasion as to the four requisites[:]” (1) a substantial likelihood of success on the

merits; (2) that it will suffer irreparable injury unless the injunction is issued; (3) that the

threatened injury to plaintiff outweighs whatever the damage the proposed injunction may cause

defendant; and (4) the injunction is not adverse to the public interest. Llovera v. Florida, 576 F.

App’x 894m 896 (11th Cir. 2014); Lucky Cousins Trucking, Inc. vs. QC Energy Res. Tex., LLC,

223 F. Supp. 3d 1221, 1224, (M.D. Fla. 2016); AM Gen. Holdings, 2012 LEXIS 289 at *12.

       Under Delaware law, for substantial likelihood of success on the merits, the moving party

must establish, by clear and convincing evidence, that a non-compete is 1) reasonably limited

temporally, (2) reasonably limited geographically, (3) protects the legitimate interests of the

employer, and (4) its operation reasonably protects those interests. McCann Surveyors, Inc., 611

A.2d at 3. Further, it “must survive a balancing of the equities in order to be enforceable.”

Hough Assocs. v. Hill, 2007 LEXIS 5, at *48 (Del. Ch. 2007). “If a court determines that the

anticompetitive effects of the restrictive practices outweigh the pro-competitive justifications it

offers, the contract employing it will be struck down.” Hammermill Paper Co. v. Palese, 1983

LEXIS 400, *13 (Del. Ch. 1983).




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    A. The Non-Compete Provision Contains an Unreasonable Restraint on Time and
       Geography.

         Under Delaware law, “[r]easonableness of duration in a non-competition agreement must

be determined based upon the nature of the employee's position and the context of a particular

industry.” Del. Express Shuttle v. Older, 2002 Del. Ch. LEXIS 124, *1. Covenants not to

compete “covering limited areas for two or fewer years generally have been found reasonable.”

Elite, at 28-29.        Further, the lack of a geographical restriction may prove fatal to the

enforceability of a non-compete provision. Del. Express Shuttle, Inc., 2002 Del. Ch. LEXIS 124,

at *47-48 citing Caras v. American Original Corp., 1987 Del. Ch. LEXIS 467 (Del. Ch. July 31,

1987) (finding that “[a] restrictive covenant not to compete which is not reasonably limited

geographically, therefore, is unreasonable and unenforceable.”).

         Here, the covenant not to compete in section 5.09(c)(i) of the Sales Agreement contains

an unreasonable time restraint of almost five years. Section 5.09(c)(i) restricts Absolute Medical

for the “Term” plus 12 months. “Term” is defined as five years from the “Effective Date

[January 1, 2017].” As of December 29, 2017, the date this action was filed, there were

approximately four years remaining in the Term. Additionally, section 5.09(c)(i) fails to include

a geographical restraint at all. 1 As such, five years is an unreasonable amount of time to restrict

Absolute Medical from competing with NuVasive.

    B. NuVasive Does Not Have a Protectable Legitimate Business Interests.

         Delaware courts will not enforce a non-compete "that is more restrictive than an

employer's legitimate interests justify or that is oppressive to an employee." Elite Cleaning Co.,

2006 LEXIS at *28 (finding that “[a] court may refuse to enforce the covenant by injunction if


1
 Although subsections 5.09(c)(ii) and (iii) contain a geographical restraint of the “Territory” as defined by the Sales
Agreement, subsection (5.09(c)(i) is the specific non-compete provision and it contains no geographical restraint.

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the employer’s interests are ‘slight or ephemeral’ but the consequences to the employee would be

‘grave.”’). Although Delaware courts recognize protection of employer’s goodwill and

confidential information from misuse as legitimate, courts will also consider whether the

restriction on competition would be an undue hardship on the employee. Id. at *12-13. In

determining whether to enforce non-compete, “a central aspect of the analysis is a balancing of

the harms that are threatened to plaintiff and the consequences of specific enforcement to the

defendant,” such as its effect on his life subsequently. McCann Surveyors, Inc., 1987 LEXIS at

* 4. Further, “[a] covenant not to compete found in an agreement with an independent contractor

may not be as restrictive as a covenant found in an agreement with an employee.” EDIX Media

Grp., Inc. v. Mahani, 2006 Del. Ch. LEXIS 207, *1. The relationship between an employer and

employee is more intimate than an independent contractor relationship as independent

contractors “maintain a greater degree of control over how they accomplish tasks; remain

engaged to a much greater extent in a distinct occupation or business (as opposed to an

employee, who may be asked to perform other reasonable tasks as required); and traditionally

work with a lesser degree of supervision.” Id. Thus “[t]he legitimate economic interests of an

employer in restricting the substantially similar activities of an independent contractor will be

more limited than they would be with respect to an employee.” EDIX Media Group, Inc., 2006

LEXIS, at *8.

       In this case, NuVasive failed to demonstrate that it had a protectable business interest,

that it provided Absolute Medical with confidential information outside the public domain or that

it entrusted Absolute Medical with protectable trade secrets. Furthermore, NuVasive’s attempt to

stop Absolute Medical from selling medical products prevents physician customers from




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exercising their professional judgment in determining which brand of medical device is best for

their patients. As such, the non-compete is unenforceable as an unreasonable restraint on trade.

    C. The Non-Competes are Unenforceable as Overly Broad and Vague

        The non-compete in the Sales Agreement is also unenforceable as vague and overly

broad as it unreasonably restricts Absolute Medical beyond NuVasive’s legitimate business

interests. “Regardless of the presence of reasonably limited geographical and temporal

restrictions, the spectrum of activities prohibited by an agreement not to compete may be vague

or overly broad and, therefore, not enforceable.” Del. Express Shuttle, Inc., 2002 LEXIS at *44;

Norton Petroleum Corp. v. Cameron, 1998 Del. Ch. LEXIS 32 (Del. Ch. Mar. 5, 1998).

        Here, section 5.09(c)(i) of the Sales Agreement unreasonably restricts the services that

Absolute Medical can provide or engage in during the non-compete period as the term

“Products” is not defined or listed in the Sales Agreement and the inclusion of the wholly

discretionary provision “in NuVasive’s reasonable judgment” is vague and overly broad such

that is it entirely unclear what activities Absolute Medical is prohibited from engaging in. The

non-compete also unreasonably includes future products and services of NuVasive making the

entire provision invalid.

    II. Absolute Medical, AMS, and Soufleris Have Not Violated the Non-Compete.

        Even assuming arguendo that the non-compete is valid, Absolute Medical is complying

with the non-compete as it is no longer operating, which necessarily means that it is not

competing with NuVasive. (Soufleris Dec. at ¶ 14). Further, AMS intends to prove that it is not

operating in the “territory” set forth in the Sales Agreement and, thus, is in complete compliance

with the non-complete2. Notably, NuVasive admits that “allowing Absolute Medical [and AMS]


2
 AMS maintains that the non-compete does not bind it as AMS is a separate, independent entity (see section II of
Def’s Hearing Memo).

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to sell competing products outside of its NuVasive sales territory” would not be a violation of the

non-compete. (NuVasive Pre-Hearing Memo at 5). Thus, Absolute Medical, AMS, and Soufleris

are not competing with NuVasive. Accordingly, NuVasive cannot show irreparable harm as

required for issuance of a preliminary injunction and its request must be denied.

    III. NuVasive Cannot Extend the Preliminary Injunction to AMS Because AMS is Not
         a Successor to Absolute Medical.

        NuVasive seeks to enjoin AMS from allegedly competing with NuVasive by

impermissibly attempting to extend the non-compete under a successor liability theory.

Traditional corporate law does not impose liabilities on a predecessor corporation; however,

Florida does allow successor entity liability where the new entity is merely a continuation of its

predecessor.3 Amjad Munim. P.A. v. Azar, 648 So. 2d 145 (Fla. 4th DCA 1994). To determine a

continuation, courts conduct a fact-intensive inquiry, including whether the new company has the

same location, personnel, clients, day-to-day operations, bank accounts, furniture, office

supplies, signage, and whether it assumed the debt of the prior entity.4 AMS, however, is a

wholly independent entity that has its own email address, fax number, company logo, business

card, credit cards, bank account, office furniture and supplies – which are all different from

Absolute Medical. In fact, AMS’s office is located more than thirty miles from Absolute

Medical’s old office. Most importantly, it does not have the same clients as Absolute Medical

since AMS operates outside of Absolute Medical’s Sales Agreement territory.

        Even if this Court finds that AMS is a successor to Absolute Medical, NuVasive has cited

no legal authority to support an extension of the non-compete to AMS under the “mere

3
  There are other possible ways to pierce the veil; however, NuVasive has only raised arguments under the “mere
continuation” theory.
4
  Centimark Corp. v. A to Z Coatings, 288 Fed. Appx. 610 (11th Cir. 2008); Munim, 648 So.2d at 154; TTT Food
Holding Co. LLC v. Namm, 2017 LEXIS 77402 (S.D. Fla. 2017); Calabrales v. Las Brisas, 2012 US Dist. LEXIS
197932 (S.D. Fla. 2012); Lab Corp v. Professional Recovery Network, 813 So. 2d 271 (Fla. 5th DCA 2002).


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                           5
continuation” theory.          In its Pre-Hearing Memo, NuVasive relies on the case of Munim to

support its position that a non-compete can be extended to a successor entity. 648 So. 2d 145

(Fla. 4th DCA 1994). However, NuVasive mischaracterizes the importance of the non-compete

in Munim. The only mention of the non-compete was to establish the procedural history of the

case. The court did not analyze the enforceability of the restrictive covenant or extend it to a

successor entity. Accordingly, NuVasive’s request to extend the preliminary injunction to AMS

should be denied.

    IV. NuVasive Cannot Pierce the Corporate Veil and Extend the Preliminary Injunction
        to Greg Soufleris.
         NuVasive claims that the preliminary injunction6, if issued, should extend to Soufleris

under Fla. Stat. §§ 605.0101 and 605.04093, Florida Revised Limited Liability Act (the “Act”),

and under a common law “piercing the corporate veil” theory. (See NuVasive’s Pre-Hearing

Memo at 13). Prior to analyzing the elements of injunctive relief, NuVasive must make a

preliminary showing that Absolute Medical’s corporate veil should be pierced7. First, Fla. Stat. §

605.04093 states that a manager/member is not personally liable for monetary damages unless he

breaches certain duties; thus, nothing in the Act authorizes the issuance of an injunction. Second,

under Florida Supreme Court’s strict standard, the corporate veil will not be pierced absent a

showing of improper conduct. Dania Jai-Alai, Inc. v. Sykes, 450 So. 2d 1114, 1121 (Fla. 1984).

NuVasive has the burden to prove by preponderance of the evidence that:


5
  Rather, this theory of successor entity liability has been widely limited to post-judgment situations where a creditor
seeks to collect against a successor corporation as the alter ego of its processor. See Amjad Munim. P.A. v. Azar,
648 So. 2d 145 (Fla. 4th DCA 1994); Laboratory Corp. of America v. Professional Recovery Network, 813 So. 2d
271 (Fla. 5th DCA 2002); Longo v. Associated Limousine Servs., 236 So. 3d 1115 (Fla. 4th DCA 2018).
6
  Since NuVasive failed to file a motion setting forth its legal basis for seeking injunctive relief against Soufleris,
Soufleris is left to respond to the allegations against him in NuVasive’s Pre-Hearing Memorandum. Notably,
NuVasive also failed to include a count for injunctive relief against Soufleris in its Amended Complaint.
7
 Notably, NuVasive failed to cite any legal support for extending a non-compete to a Soufleris, as a principal, under
a “piercing the corporate veil” theory. Therefore, NuVasive’s request for a preliminary injunction against Soufleris
should be denied.

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    (1) a shareholder dominated and controlled the corporate to such an extent that the
        corporation’s independent existence was in fact nonexistent and the shareholder was in
        fact the alter ego of the corporation;
    (2) the corporate form must have been used fraudulently or for an improper purpose; and
    (3) the fraudulent or improper use of the corporation form caused injury to the claimant

Beach Cmty. Bank v. Cannon (In re Cannon), 2017 Bankr. LEXIS 4456, *8 (M.D. Fla. 2017).

The fact that one individual is the owner or principal of a corporate entity “does not lead

inevitably to the conclusion that the corporate entity is a fraud or that [he] is necessarily the alter

ego . . .” Sykes, 450 So. 2d at 1120. “If this were the rule, it would completely destroy the

corporate entity as a method of doing business and it would ignore the historical justification for

the corporate enterprise system.” Sykes, 450 So. 2d at 1120. Further, even assuming arguendo

Soufleris is the alter ego, NuVasive must show his “improper conduct” damaged it. “Improper

conduct is present only in cases in which the corporation was a mere device or sham to

accomplish some ulterior purpose or where the purpose is to evade some statute or to accomplish

some fraud or illegal purpose.’" N. Am. Clearing, Inc., 666 F. Supp. 2d at 1306 (citing Johnson

Enters. of Jacksonville, Inc. v. FPL Group, Inc., 162 F.3d 1290, 1320 (11th Cir. 1998)). A sole

principal’s receipt of all corporate income does not, alone, support piercing the corporate veil. N.

Am. Clearing, Inc., 666 F. Supp. 2d at 13088 (citing Ally v. Naim, 581 So. 2d 961, 963 (Fla. 3d

DCA 1991). “If this requirement were not made then every judgment against a corporation could

be exploited as a vehicle for harassing the stockholders and entering upon fishing expeditions in

to their personal business asserts.” Sykes, 450 So. 2d at 1120.

8
  In N. Am. Clearing, Inc., a company sued a corporate officer of a stock brokerage firm alleging breach of contract.
666 F. Supp. 2d 1299 (M.D. Fla. 2009). The company asserted that the officer intentionally caused his brokerage to
breach the agreement and steal the company’s software. Id. at 1303-1304. However, “[c]ausing a corporation to
intentionally breach a contract or commit conversion, without more, does not mislead or defraud creditors such that
the corporate veil should be pierced.” Id. at 1308. Even if the facts show that the business affairs have been poorly
handled, without more, this does not justify piercing the corporate veil. Id. (citing Ally, 581 So. 2d at 962-63). The
court found that even if the officer’s actions caused the brokerage to breach the contract or convert the company’s
software, he could not be held personally liable because his conduct did not involve any improper use of the
brokerage’s corporate form. Id.


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         Here, Soufleris followed all of the corporate formalities in forming and maintaining

Absolute Medical, including registering it and filing annual returns with the Florida Secretary of

State, filing initial Articles of Organization, preparing an Operating Agreement, obtaining a

federal tax identification number, filing federal income taxes with the Internal Revenue Service,

and obtaining general liability insurance. Further, NuVasive cannot show that Absolute Medical

was used for an improper purpose as it was actually NuVasive that insisted Soufleris create

Absolute Medical for their business relationship. Additionally, Soufleris has never commingled

his personal funds with Absolute Medical funds or used Absolute Medical funds for his own or

his family’s personal benefit. Absolute Medical had its own bank account, business credit cards,

and separate accounting books. As such, it is clear that Absolute Medical is an independent and

distinct entity from its principal, Soufleris, and NuVasive cannot pierce the corporate veil.

    V. NuVasive Cannot Enforce A Non-Compete Agreement Against Hawley and Miller
       As No Such Written Agreement Exists.

         NuVasive’s request for preliminary injunction against Hawley and Miller should be

denied as there are no valid, written agreements in operation. The 2013 Independent Contractor

Agreements between Absolute Medical and Hawley and Miller, separately, (“2013 ICAs”) are

expired9 and did not include NuVasive as a party or third party beneficiary10. There are no other

written agreements to be enforced by NuVasive under any theory of law.


         9
            Even if the 2013 ICAs automatically renewed for successive one-year terms, there are subsequent,
superseding independent contractor agreements between Absolute Medical and Hawley and Miller, separately, for
the years of 2014, 2015, and 2016. Under Florida law, a novation is the mutual agreement between parties to an
existing contract for its discharge by substitution of a new, valid obligation. See generally Excess Risk Underwriters,
Inc. v. Lafayette Life Ins. Co., 328 F. Supp. 2d 1319 (S.D. Fla. 2004). There are four elements necessary to establish
a novation: “(1) the existence of a previously valid contract; (2) the agreement to make a new contract; (3) the intent
to extinguish the original contractual obligation; and (4) the validity of the new contract.” Id. at 1331. “Existence of
a novation must be implied as a matter of law in those instances where the parties enter into an entirely new and
unambiguous agreement of equal or greater dignity to the agreement first made with respect to the same subject
matter.” S.N.W. Corp. v. Hauser, 461 So. 2d 188, 189 (Fla. 4th DCA 1984) (finding that a novation occurred when
plaintiffs executed new contracts for the same subject matter). Further, the 2014, 2015, and 2016 ICAs contain
“entire agreement” clauses, which specifically state that those agreements supersede all prior agreements.

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      VI. NuVasive’s Request for Preliminary Injunction Against AMS, Soufleris, Hawley,
          and Miller Should Be Denied as Procedurally Defective.

          NuVasive failed to file a motion requesting injunctive relief against AMS, Soufleris,

 Hawley, and Miller as required by the Federal Rules of Civil Procedure and, therefore, this

 request for preliminary injunction should be denied as it is procedurally defective. Rule 7(b)

 states that “[a] request for a court order must be made by a motion.” Fed. R. Civ. P. 7(b). It is

 not appropriate to seek an order for affirmative relief in a pre-hearing memorandum. Armington

 v. Dolgencorp, Inc., 2009 U.S. Dist. LEXIS 9694, at *2 (M.D. Fla. 2009); News Am. Mktg. FSI

 LLC v. Four Corners Direct, Inc., 2016 U.S. Dist. LEXIS 82712, *3 (M.D. Fla. 2016). Pursuant

 to the rule, the motion must be in writing, state with particularity the grounds for seeking the

 order, and state the relief sought. Armington, 2009 U.S. Dist. LEXIS 9694, at *2 (M.D. Fla.

 2009).

          Further, even if this request was proper, the request should otherwise be denied for failure

 to comply with Local Rule 3.01(g). See Local Rule 3.01(g), United States District Court, Middle

 District of Florida; Brito v. City of Jacksonville, 2018 U.S. Dist. LEXIS 2386, *2 (M.D. Fla.

 2018). Local Rule 3.01(g) requires the moving party to certify that it has conferred with

 opposing counsel in good faith to resolve the issue raised by the motion and advising the Court

 whether opposing counsel agrees to the relief requested. See Local Rule 3.01(g); Brito, 2018



 10
  NuVasive is not a party to the 2013 ICAs and, thus, has no standing to enforce the non-competes. Although
 Florida law allows for a third party beneficiary to enforce a non-compete, the third party beneficiary must be
 expressly named in the contract containing the non-compete and such contract must contain express language
 notifying the employee of the right of a third party to enforce such covenant. Section 524.335( f) states as follows:
          The court shall not refuse enforcement of a restrictive covenant on the ground that the person
          seeking enforcement is a third-party beneficiary of such contract or is an assignee or successor to a
          party to such contract, provided:
                    1. In the case of a third-party beneficiary, the restrictive covenant expressly identified
                    the person as a third-party beneficiary of the contract and expressly stated that the
                    restrictive covenant was intended for the benefit of such person (emphasis added).


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 U.S. LEXIS 2386, *2 (court refused to entertain plaintiff’s request for relief included in a

 response rather than a motion and advised that “if [plaintiff] wishes to pursue such relief, he is

 required to file an appropriate motion, in accordance with the Federal Rules of Civil Procedure

 and the Local Rules of this Court.”)

    VII.      NuVasive is Required to Post a Bond if the Preliminary Injunction is Issued.

           In the event this Court issues a preliminary injunction against Defendants, NuVasive is

 required to post a bond pursuant to Fed. R. Civ. P. 65(c) and Fla. Stat. § 542.335(1)(i). Pursuant

 to Fla. R. Civ. P. 65(c) and Fla. Stat. § 542.335(1)(j), “no preliminary injunction should issue

 without the giving of security by the applicant sufficient for payment of costs and damages as

 may be incurred or suffered by any party to have been wrongfully enjoined." Landscape

 Concepts of CT, LLC, 2016 LEXIS at *32; see also Fla. Stat. § 542.335(1)(j) .

                                               CONCLUSION

           In sum, NuVasive fails to meet its burden for the issuance of a preliminary injunction as

 it cannot show a substantial likelihood of success on the merits or establish irreparable harm.

 Accordingly, NuVasive’s request for preliminary injunction against Defendants should be

 denied.

           Dated: June 27, 2018
                                                Respectfully submitted,

                                                /s/ Chantal M. Pillay
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                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 27, day of June, 2018, I electronically filed the
 foregoing with the Clerk of the Court via the CM/ECF system, which will send a notice of
 electronic filing to all counsel of record and CM/ECF participants.

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